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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

UNITED STATES OF AMERICA                              §
                                                      §
V.                                                    §           CRIMINAL NO. H-08-328-6
                                                      §
RAUL GARCIA                                           §

                              ORDER OF DETENTION PENDING TRIAL

         In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), the Government moved for
detention in this case. Defendant waived his right to a detention hearing. That waiver is entered in
the record as Dkt. No. 106. I conclude that the following facts are established by a preponderance of
the evidence or clear and convincing evidence and require the detention of the defendant pending trial
in this case.

                                              Findings of Fact

[ ] A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

     [ ] (1)      The defendant has been convicted of a (federal offense) (state or local offense that
                  would have been a federal offense if a circumstance giving rise to federal jurisdiction
                  had existed) that is

                       []      a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                       []      an offense for which the maximum sentence is life imprisonment or death.

                       []      an offense for which a maximum term of imprisonment of ten years or
                               more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                               ( ) § 955(a).

                       []      a felony that was committed after the defendant had been convicted of two
                               or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                               (A)-(C), or comparable state or local offenses.

           [ ] (2) The offense described in finding 1 was committed while the defendant was on release
                   pending trial for a federal, state or local offense.

           [ ] (3) A period of not more than five years has elapsed since the (date of conviction) (release
                   of the defendant from imprisonment) for the offense described in finding 1.

           [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
                   combination of conditions will reasonably assure the safety of any other person and the
                   community. I further find that the defendant has not rebutted this presumption.
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[x]    B.        Findings of Fact [18 U.S.C. § 3142(e)]

       [x] (1) There is probable cause to believe that the defendant has committed an offense

                     [x]     for which a maximum term of imprisonment of ten years or more is
                             prescribed in 21 U.S.C.
                             ( x ) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                     []      under 18 U.S.C. § 924(c).

       [x] (2) The defendant has not rebutted the presumption established by finding 1 that no
               condition or combination of conditions will reasonably assure the appearance of the
               defendant as required and the safety of the community.

[x]    C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

       [x] (1) Defendant is accused of conspiracy to possess with intent to distribute 5 kilograms of
               more of cocaine, and money laundering.

       [x] (2) There is a serious risk that the defendant will flee.

       [x] (3) Defendant represents a serious risk to the safety of the community.

       [ ] (4) There is a serious risk that the defendant will (obstruct or attempt to obstruct justice)
               (threaten, injure, or intimidate a prospective witness or juror, or attempt to do so).

[x]    D.        Findings of Fact [18 U.S.C. § 3142(c)]

       [ ] (1) As a condition of release of the defendant, bond was set as follows:

       [ ] (2)

       [x] (3) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
               § 3142(c) which will reasonably assure the appearance of the defendant as required.

       [x] (4) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
               § 3142(c) which will reasonably assure the safety of any other person or the
               community.

                             Written Statement of Reasons for Detention

       I find that the accusations in the indictment and the information submitted in the Pretrial
Services Agency report establish by a preponderance of the evidence that no condition or combination
of conditions will reasonably assure the appearance of the defendant as required and by clear and

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convincing evidence that there is no condition or combination of conditions of release which would
reasonably assure the safety of the community.

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

        1.      Defendant is a 29-year old United States Citizen born in Wisconsin who has lived in
                Laredo, Texas most of his life. His parents and siblings live in Laredo. He has full
                custody of his 9 year old daughter from a prior relationship who lives with his current
                common law spouse. He has 4 other young children from other relationships, all of
                whom live with their mothers in Texas. Defendant reports he was employed for the
                last three months as a car washer at an auto sales and car wash establishment earning
                approximately $800 a month. Defendant takes medication for depression, admits using
                marijuana daily, and has a history of drug abuse.

        2.      Defendant has a criminal history including convictions for possession of marijuana
                aggravated assault.

        3.      Defendant is charged with conspiracy to possess with intent to distribute 5 kilograms
                or more of cocaine in violation of 21 U.S.C. § 846, and money laundering in violation
                of 18 U.S.C. § 1956. The drug charges have a potential penalty of 10 years to life in
                prison.

        4.      There is no condition or combination of conditions of release which would assure the
                appearance of the defendant or the safety of the community. Detention is ordered.

                                    Directions Regarding Detention

        It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel.
On order of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility shall deliver the defendant to the United States Marshal for the
purpose of an appearance in connection with all court proceedings.


        Signed at Houston, Texas on June 12, 2008.




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